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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                        EASTERN DIVISION AT COLUMBUS

  UNITED STATES OF AMERICA,

                 Plaintiff,
                                                               Case Nos. 2:14-cr-127, 2:15-cr-80
         -vs-                                                        Civil Case Nos. 2:20-cv-
                                                                     5733, 2:21-cv-1120
  ROBERT D. LEDBETTER,
                                                               Chief Judge Algenon L. Marbley
                                                               Magistrate Judge Michael R. Merz
                  Defendant.


                                     RECOMMITAL ORDER


         This case is before the Court on Defendant's Objections (ECF No. 1781) to the

  Magistrate Judge's Report and Recommendations (ECF No. 1778).

         The Chief Judge has preliminarily considered the Objections and believes they will be

  more appropriately resolved after further analysis by the Magistrate Judge. Accordingly,

  pursuant to Fed. R. Civ. P. 72(b)(3), this matter is hereby returned to the Magistrate Judge with

  instructions to file a supplemental report analyzing the Objections and making recommendations

  based on that analysis.

  June3{_, 2022.
